       Case 8-14-75629-las            Doc 29      Filed 03/01/21    Entered 03/01/21 09:57:43




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re :
                                                                   Case No. 8-14-75629-las
Martin Joseph and
Somantie Joseph aka Somantie Ramkishun,
                                                                   Chapter 7

                           Debtors.
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 ORDER VACATING FINAL DECREE DATED JUNE 29, 2020 AND RE-OPENING CASE

           Whereas the above-captioned case having been initiated by the filing of a petition under

Chapter 7 of Title 11 of the United States Code on December 23, 2014; and a Final Decree was

entered on June 29, 2020 [dkt. no. 28] and the bankruptcy case was closed; and an adversary

proceeding was pending at the time; and the Court having found that the Final Decree was entered

in error; and after due deliberation, it is hereby

        ORDERED, that the Court on its own motion vacates the Final Decree dated June 29, 2020

and directs the bankruptcy case be reopened; and it is further

        ORDERED, that the Clerk’s Office serve a copy of this Order on the debtor, debtor’s

counsel, the Trustee, all creditors and any party who filed a notice of appearance.




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 Dated: March 1, 2021                                                      Louis A. Scarcella
        Central Islip, New York                                     United States Bankruptcy Judge
